           Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 1 of 8
                                                    USDSSDNY
                                                    DOCUMENT
                                                                            ELECTRONICALLY FILED
                                                                            DOC#:
 UNITED STATES DISTRICT COURT                                                     ------------------
 SOUTHERN DISTRICT OF NEW YORK                                              DATE FILED: 10 - 1<0 - I t
----------------------------------------------------------------------- x
UNITED STATES OF AMERICA,                                                   10 Civ. 9280 (PKC)(AJP)

          Plaintiff,                                                        ECF Case

                       -v.-                                                 CONSENT ORDER AS TO
                                                                            FIRST RESIDENTIAL
BUY A HOME, LLC; et al.,                                                    MORTGAGE SERVICES
                                                                            CORPORA TION AND
          Defendants.                                                       SANDRA SCHANKS
----------------------------------------------------------------------- x
              WHEREAS, on December 29, 20 I 0, the Court entered a preliminary injunction (the

 "Injunction") against defendant Mitchell Cohen ("Cohen") and defendant Buy a Home, LLC

 ("Buy-a-Home") in the above-captioned matter (the "Action"); and

              WHEREAS, pursuant to the Injunction, Cohen is enjoined from "participating in any

 real estate transaction that involves any request or application for mortgage insurance from

 HUD" and from "advertising, marketing to the public, or other\Vise soliciting business involving

 the origination of any federally-insured home mortgage loans," see Injunction at ~~ 3-4; and

              WHEREAs, the Injunction is binding not only upon Cohen and Buy-a-Home but also

 upon "their officers, agents, servants, employees, and attorneys, and any other person or entity in

 active concert or participation with any of them," id.; and

              WHEREAS, the United States of America (the "Government") investigated whether

 Cohen participated in the business operations of V-Rent New York, LLC ("Y-Rent"), a real

 estate brokerage firm operated by Cohen's wife, Marcia Kaufman ("Kaufman"), in violation of

 the Injunction; and

              WHEREAS, based on its investigation, the Government concluded that Cohen

 willfully violated the Injunction by, among other things, participating in Y-Rent's sales

 transactions that involved applications for FHA-insured mortgage loans and soliciting business

 from Y -Rent's prospective buyers who were likely to seek FHA-insured mortgage loans; and
         Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 2 of 8




              WHEREAS, First Residential and Schanks hereby stipulate to and acknowledge the

following facts:

       1.        During all relevant times, First Residential has been a direct endorsement lender
                 authorized to participate in FHA's mortgage insurance program. See 24 C.F.R.
                 Part 203.

       2.        In 2010 and prior to the entry of the Injunction, First Residential originated more
                 than 30 FHA-insured mortgage loans insured for Buy-a-Home customers.

       3.        In 20 10, Schanks was a vice president at First Residential, and was the loan
                 officer responsible for originating the FHA-insured mortgage loans for Buy-a­
                 Home customers.

       4.        Shortly after the initiation of this Action, First Residential and Schanks were
                 made aware that the Government alleged that Cohen and Buy-a-Home had
                 fraudulently given prospective home-buyers inducements to purchase in the forms
                 of (i) providing funds to the buyers' family members to make purported gifts to
                 the buyers for down payments and (it) paying off the buyers' debts to "repair"
                 their credit scores.

        5.       On or about December 14, 2010, First Residential became aware ofthe entry of a
                 temporary restraining order against Cohen and Buy-a-Home, and issued an e-mail
                 to its employees, directing them not to originate mortgage loans for Cohen or
                 Buy-a-Home.

        6.       On or about December 30,2010, First Residential and Schanks received actual
                 notice of the entry of the Injunction.

        7.       Upon receipt of the Injunction, First Residential provided a copy to Schanks, and
                 reiterated to its employees to cease any and all business with Cohen and Buy a
                 Home. First Residential did not implement any additional policy or procedure to
                 require its loans officers and underwriters to scrutinize applications for FHA­
                 insured loans to determine whether Cohen, Buy-a-Home, or individuals or entities
                 acting in concert with Cohen or Buy-a-Home, participated in the underlying sales
                 transactions.

        8.       From December 20 10 to June 20 II, First Residential did not have a firm-wide
                 policy on e-mail retention, including e-mails relating to FHA-insured loans.

        9.       In late April 20 II, Mohammed Ibrahim, a sales agent who worked at Buy-a­
                 Home in 2010, contacted Schanks and asked her to meet with a prospective home­
                 buyer at Y-Rent's offices to evaluate whether the buyer qualified for an FHA­
                 insured mortgage. On the following day, Schanks met with the prospective buyer
                 and Kaufman at Y-Rent's offices, and learned that Kaufman operated Y-Rent.

        10.        In April 2011, Schanks knew that Kaufman was married to Cohen.

        11.        In connection with referring customers to First Residential for obtaining FHA­
                   insured mortgage loans, Kaufman told Schanks that Kaufman was the owner and


                                                  2
       Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 3 of 8




               operator of Y -Rent, and Cohen was not involved with Y -Rent. Schanks did not
               ask Kaufman about, or make any independent investigation into, whether Cohen
               participated in Y -Rent's real estate transactions or solicited business from any
               prospective home-buyers on behalf of Y -Rent.

       12.     From late April 2011 to June 1,2011, Schanks received a number of applications
               for FHA-insured mortgage loans for prospective home-buyers referred by Y -Rent,
               and regularly visited Y -Rent's offices.

       13.     In May 2011, Schanks learned from Gregg Star, Cohen's former partner at Buy-a­
               Home, that Cohen maintained an office in the basement of Y-Rent's offices.
               Schanks shared with other senior executives at First Residential the information
               that Star provided concerning Cohen's maintaining an office in the basement of
               Y-Rent's offices. (n response, First Residential directed Schanks to be careful.

       14.     After learning that Cohen maintained an office in the basement of Y-Rent's
               offices, Schanks did not further inquire into whether Cohen participated in Y­
               Rent's sales of residential properties involving FHA-insured mortgage loans or
               solicited business from prospective buyers interested in such transactions.

       15.      After learning of Cohen's presence at Y-Rent's offices, Schanks continued to
                receive applications for FHA-insured loans for prospective home-buyers referred
                by Y-Rent, and processed at least one such loan application.

       16.      On May 27, 2011, Schanks received an e-mail from a Y-Rent employee, stating
                that while Y -Rent did not yet have a record for a property on East 180 th Street
                being sold to a buyer seeking a FHA-insured mortgage loan, "Mitch [Cohen] says
                we will have [the record] next Tuesday or Wednesday."

       17.      After receiving the May 27, 2011 e-mail mentioning Cohen, Schanks returned to
                Y-Rent on May 31,2011, to process the loan application for the sale transaction
                involving the East 180th Street property. Specifically, Schanks did not make any
                inquiry into whether Cohen was complying with the Injunction.

       18.      On or about June I, 2011, First Residential became aware that Cohen was
                involved in the business operations of Y-Rent, and stopped processing any loan
                application that it had received from Y -Rent.

             WHEREAS, First Residential and Schanks agree with the Government that they

reasonably could have taken further steps to ensure compliance with the Injunction, and wish to

enter into this Consent Order for purposes of ensuring future compliance with the Injunction,

including to implement policies and practices that complement requirements of the FHA

mortgage insurance program; and




                                                 3
         Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 4 of 8




              ACCORDINGLY, IT IS ORDERED, ADJUDGED and DECREED that, pursuant to

Federal Rule of Civil Procedure 65 and the Court's inherent authority, and to implement and

enforce the Injunction, First Residential and Schanks shall be subject to the following:

         I.     For the duration of this Order, First Residential and Schanks, along with their

officers, employees, agents, and servants, and any other person or entity in active concert or

participation with any of them, are enjoined from engaging in any business dealing with Cohen,

any entity owned in whole or in part by Cohen, or any entity for which Cohen is an employee or

agent.

         2.      For the duration of this Order, First Residential and Schanks, along with their

officers, employees, agents, and servants, and any other person or entity in active concert or

participation with any of them, are enjoined from using the mails or wire transmissions, or

causing the use of the mails or wire transmissions, to fraudulently obtain mortgage insurance

from HUD.

         3.      Within 3 days after the entry of this Order, First Residential shall distribute a copy

of this Order to all First Residential employees, agents, servants, attorneys, and to any person or

entity who is acting on behalf of First Residential.

         4.      Within 15 days after the entry of this Order, First Residential shall implement and

distribute a written policy regarding appropriate measures to avoid business dealings with Cohen

to all First Residential employees, agents, servants, attorneys, and to any person or entity who is

acting on behalf of First Residential.

         5.      Within 30 days after the entry of this Order, First Residential shall implement and

distribute a written policy regarding appropriate methods and procedures for ascertaining

whether, in connection with the origination of any FHA-insured mortgage loans, (i) a seller or a

broker has provided any undisclosed inducements to purchase to a prospective home-buyer,



                                                   4
        Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 5 of 8




and/or (ii) a seller or a broker has paid off a prospective home-buyer's debts to artificially raise

his or her credit scores (including through third party "credit repair" specialists), without

disclosing the source of funds for such debt repayments.

       6.       Within 30 days after the entry of this Order, First Residential shall implement and

distribute a written policy for ensuring all appraisals that First Residential obtains in connection

with the origination of all FHA-insured mortgage loans are issued by appraisers who are

independent from the seller(s), broker(s), buyer(s), and lender(s) involved in the relevant

transactions.

        7.      Within 30 days after the entry of this Order, First Residential shall implement and

distribute a written policy concerning the proper retention of electronic records, including e­

mails, that relate to the origination of any FHA-insured mortgage loan.

        8.      Within 20 days of the distribution of the written policies required under

Paragraphs 4 to 7 above, First Residential shall provide copies of such policies to the

Government in accordance with Paragraph 16 below.

        9.      For the duration of this Order, First Residential shall make the following

information available to any prospective home-buyer who provides information to or otherwise

contacts First Residential concerning a FHA-insured mortgage loan: (i) a copy of HUD' s

settlement costs booklet (available at: http://portal.hud.gov/hudportal/documents/huddoc?

id=DOC 12893.pdj); (ii) written notice that the prospective buyer has the right to obtain his or

her own attorney in connection with the sale of real estate brokered by Y -Rent; and (i ii) written

notice that, prior to closing, the prospective buyer has the right to obtain an inspection of the

property at his or her own expense.

        10.     For the duration of this Order, and with respect to any real estate transaction that

occurs following the entry of this Order, First Residential shall maintain all accounting and



                                                   5
        Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 6 of 8




business records, including all correspondence or communications, related to any FHA-insured

mortgage loan originated by First Residential.

       11.       For the duration of this Order, First Residential shall have a corporate officer

designated as the Compliance Officer, with the responsibility for ensuring compliance with all

applicable laws and regulations pertaining to the origination of FHA-insured mortgage loans as

well as the Injunction and this Order. Specifically, First Residential shall ensure that the

Compliance Officer (i) is included in the making of any decision relating to any issue raised by a

First Residential employee, agent, or customer concerning whether First Residential or Schanks

is complying with the laws and regulations pertaining to the origination of FHA-insured

mortgage loans, the Injunction, or this Order ("Compliance Issues"); (ii) prepares and maintains

a quarterly compliance report that documents all Compliance Issues reported to First Residential

and all decisions made by First Residential in response to these issues.

        12.      Within 20 days of the entry of this Order, First Residential shall make a payment

to the Government in the amount of $7,500, as compensation for the costs of the Government's

investigation.

        13.      For the duration of this Order, the Government shall have the right to verify

compliance with this Order through any means available to the general public. Further, upon a

request from the Government for any record pertaining to any policy or procedure at First

Residential or any FHA-insured mortgage loan, First Residential shall provide such requested

record to the Government within 10 days of its receipt of the request.

        14.      Nothing in this Order shall preclude, in the event of a violation of the Injunction

or this Order, the Government from seeking a finding of civil contempt as against First

Residential or Schanks or prosecuting First Residential or Schanks for criminal contempt.




                                                   6
        Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 7 of 8




       15.     Nothing in this Order shall constitute a release of any claim that the Government

may have against any party, or preclude the Government from pursuing any civil or criminal

enforcement action in the future.

       16.     Any notice required to be made to the Government under this Order shall be in

writing and shall be sent (i) by overnight mail to the attention of Assistant U.S. Attorneys Li Yu

and Cristine Irvin Phillips at the United States Attorney's Office, 86 Chambers Street, Third

Floor, New York, NY 10007; and (ii) by electronic mail to li.yu@usdoj.gov and

cristine.phillips@usdoj.gov.




                                                 7
Case 1:10-cv-09280-LGS Document 66 Filed 10/18/11 Page 8 of 8




     17.      This Order shall remain in effect for two years.

For the Govemment:                                  For First Residential:
Dated:    New York, New York                        Dated:   Garden City, New York
          Octoberfif; 2011                                   October  rt2011
          PREET BHARARA
          U::2t;s Attorney

    By:
          LJ YU
                     ~
          CRISTINE IRVIN PHlLLIPS
          Assistant United States Attorneys
                                                       By:
                                                             KEi!dL*
                                                             LAW OFFICES OF KEVIN J. KEATING
                                                             666 Old Country Rd., Suite 501
          86 Chambers Street, 3n:1 Floor,                    Garden City, New York 11530
          New York, New York 10007                           Tel,: (516) 222-1099
          Tel.: (212) 637-273412696                                 kevin@kevinkeatinglaw.com
                li.yu@usdoj.gov
                cristine.phillips@usdoj.gov
                                                    For Schanks:
                                                    Dated:   New York, New York
                                                             OctoberPI. 2011



                                                                 CHARD F. X. G       • Esq.
                                                             MEYER, SUOZZI, ENGLISH AND KLEIN
                                                             1350 Broadway, Suite 501
                                                             New York, NY 10018
                                    '.,                      Tel.: (212) 239-4999
                                                                   rguay@rosek.com


Dated:
           New   70' 7ff
                      -
                              ork
                             --,2011;
                                                     so~vtI
                                                        :fsE;vrN c
                                                    ;,··ONJTED          .'
                                                                 STATES DISTRICT JUDGE




                                                8
